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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MELLIE DUDLEY,                        )
                                      )
       Plaintiff,                     )
                                      )        CIVIL ACTION NO.
       v.                             )          2:20cv105-MHT
                                      )               (WO)
AMERICAN FAMILY CARE,                 )
INC.,                                 )
                                      )
       Defendant.                     )

                          OPINION AND ORDER

      This suit under the Age Discrimination in Employment

Act, 29 U.S.C. § 621, also known as the ADEA, is before

the court on the motion of defendant American Family

Care, Inc. to dismiss plaintiff Mellie Dudley’s complaint

and compel her to arbitrate her claim.                   The court has

federal-question        jurisdiction          pursuant   to   28   U.S.C.

§ 1331.

      Dudley worked for many years at Montgomery locations

of    American     Family     Care,       a   network    of   healthcare

facilities with clinics across the United States.                         She

alleges that, near the end of her time at the company,
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her     co-workers      began    harassing      and    threatening         her

because of her age: She is either 77 or 79 years old.

See Complaint (doc. no. 1) at ¶ 4 (seventy-seven); Decl.

of Mellie Dudley (doc. no. 15-1) at ¶ 3 (seventy-nine).

Dudley says she ultimately left the company in September

2018 because of this harassment.

       In May 2018, after she started complaining of age

discrimination to her supervisors, Dudley was asked to

sign an agreement to arbitrate “any controversy, dispute

or claim arising out of or relating to” her employment

with American Family Care as a condition of remaining in

her job.      Arbitration Agreement (doc. no. 15-2) at 2; see

also Mem. in Supp. Defs.’ Motion to Dismiss (doc. no. 6)

at 5.       She signed the agreement, and the company now

seeks to enforce it.            For the reasons that follow, the

court will grant the company’s motion insofar as it seeks

to compel arbitration.              The arbitration agreement is

enforceable, and Dudley must arbitrate her claim.

       The Federal Arbitration Act requires a court to stay

an action when it finds the suit to be subject to a valid

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arbitration agreement.         9 U.S.C. § 3.         American Family

Care nonetheless moves to dismiss Dudley’s complaint

because the only claim presented in her complaint is

subject to arbitration.         See Mem. in Supp. Defs.’ Motion

to Dismiss (doc. no. 6) at 10-11.            The cases the company

cites to support this request show nothing more than that

the district court has the power to dismiss rather than

stay an action under these circumstances.                    The court

declines to exercise that power.           It will deny the motion

insofar as the company seeks dismissal of this suit, and

it will instead stay this action pending the arbitration

of Dudley’s claim.



                       I.    LEGAL STANDARD

    The     Federal      Arbitration        Act     instructs       that

arbitration agreements such as the one in this case are

“valid, irrevocable, and enforceable, save upon such

grounds as exist at law or in equity for the revocation

of any contract.”       9 U.S.C. § 2.         As the Supreme Court

has explained, the Act evinces “a liberal federal policy

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favoring arbitration agreements.”                  Epic Sys. Corp. v.

Lewis, 138 S. Ct. 1612, 1621 (2018) (quoting Moses H.

Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,

24   (1983)).         The   agreements       may   be   “invalidated      by

‘generally applicable contract defenses’” under state

contract law, but not by “defenses that apply only to

arbitration.”       AT&T Mobility LLC v. Concepcion, 563 U.S.

333,    339      (2011)     (quoting       Dr.’s   Assocs.,      Inc.     v.

Casarotto, 517 U.S. 681, 687 (1996)).

       However, the United States Supreme Court and the

Eleventh Circuit Court of Appeals have recognized one

arbitration-specific defense that is relevant here.                       An

arbitration agreement may be unenforceable when “the

existence of large arbitration costs” would preclude a

plaintiff      from    “effectively         vindicating    her    federal

statutory rights in the arbitral forum.”                Green Tree Fin.

Corp. v. Randolph, 531 U.S. 79. 90 (2000).                        A party

seeking     to    invalidate      an       agreement    based    on     this

“effective-vindication”           defense      bears    the     burden    of

presenting evidence that shows “(1) ‘the amount of the

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fees he is likely to incur;’ and (2) ‘his inability to

pay     those    fees.’”         Escobar      v.   Celebration      Cruise

Operator, Inc., 805 F.3d 1279, 1291 (11th Cir. 2015)

(quoting Musnick v. King Motor Co., 325 F.3d 1255, 1259

(11th Cir. 2003)).          Merely showing a “[s]peculative fear

of high fees” does not meet this requirement.                    Id.

       As the Supreme Court of Alabama has explained, “[t]he

party seeking to compel arbitration has the burden of

proving      the     existence      of    a   contract       calling       for

arbitration and proving that that contract evidences a

transaction affecting interstate commerce.”                      SCI Ala.

Funeral Servs., LLC v. Hinton, 260 So. 3d 34, 36-37 (Ala.

2018) (quoting Cartwright v. Maitland, 30 So. 3d 405, 408

(Ala. 2009)).          Once this showing is made, the burden

shifts to the opposing party “to present evidence that

the supposed arbitration agreement is not valid or does

not apply to the dispute in question.”                 Id.




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                          II. DISCUSSION

    Dudley      neither     contests      that     the     arbitration

agreement affects interstate commerce nor that it bars

her suit if it is enforceable.            She instead argues four

reasons   why   the   arbitration       agreement     should    not     be

enforced: It constitutes an unconsented waiver of her

Seventh Amendment jury trial right; it is unconscionable;

it was signed under duress; and it “will be so gravely

difficult and inconvenient” that she “will be deprived

of her day in court.”           Response to Motion to Dismiss

(doc. no. 15) at 3, 5, 11, 12.                 Although the latter

defense is not styled as such, the court understands

Dudley to be raising an effective-vindication argument

based on the cost of arbitration.

    Dudley’s first three defenses all run headlong into

contrary precedent.        The Eleventh Circuit has rejected

her argument that the Seventh Amendment presents a bar

to the enforcement of arbitration agreements, following

the reasoning of the Fifth Circuit Court of Appeals

(among others) that the Constitution confers “only the

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right to have a jury hear the case once it is determined

that    the     litigation       should      proceed   before       a    court.”

Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359, 1371-

72 (11th Cir. 2005) (emphasis in original); see also

Stinson v. Am.’s Home Place, Inc., 108 F. Supp. 2d 1278,

1286 (M.D. Ala. 2000) (Thompson, J.) (also rejecting this

argument).

       Dudley       offers     largely       identical   allegations          to

support her unconscionability and duress arguments.                           To

invalidate a contract on the ground of unconscionability,

a   party       must      show    that       the    agreement       was     both

procedurally and substantively unconscionable.                          See SCI

Ala. Funeral Servs., 260 So. 3d at 38-39.                     Dudley argues

that    the        agreement     was     procedurally        unconscionable

because       of    the   inequality         of    bargaining    power       and

business      sophistication           between     herself    and       American

Family Care, a lack of time to review the agreement, and

because she had no other means to secure employment.                         See

Response to Motion to Dismiss (doc. no. 15) at 6-9.

Similarly, she argues that she signed the agreement under

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duress because she was not represented by counsel in

signing the agreement; she had a brief period of time to

review the agreement; and keeping her job depended on

signing it.     See Complaint (doc. no. 1) at ¶ 19; Response

to Motion to Dismiss (doc. no. 15) at 12.

    It   is    unclear    how     long    Dudley    actually    had     to

consider the agreement and whether she had the option to

have a lawyer review it.            In her response to American

Family Care’s motion, she says that she was “given mere

minutes to sign the agreement,” Response to Motion to

Dismiss (doc. no. 15) at 12, but she provides no further

support for this time frame and does not mention it in

her attached declaration, see Decl. of Mellie Dudley

(doc. no. 15-1) ¶¶ 6, 11-12.                Elsewhere, she claims

simply   that    she     was    “asked    to     sign”   the   contract

“[w]ithin minutes of being given the documents,” and that

“[s]he   was    not    informed    that    she    should   review       the

document in detail.”       Response to Motion to Dismiss (doc.

no. 15) at 8.      She claims at one point that she was not

“allowed to have an attorney review the document,” id.,

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but she says in her declaration that she was just “not

informed that I could contact an attorney to discuss the

arbitration agreement,” see Decl. of Mellie Dudley (doc.

no. 15-1) at ¶ 11.

      In any event, the facts she has alleged do not amount

to       procedural            unconscionability,              substantive

unconscionability, or duress under Alabama law.                           The

Supreme Court of Alabama has found a lack of procedural

unconscionability in another sign-or-be-fired case when

the employee alleged she was told, in her words, that she

“could not leave the room with the form and that I either

had to sign it then and there or lose my job.”                    Potts v.

Baptist Health Sys., Inc., 853 So. 2d 194, 204-06 (Ala.

2002).     This restriction of the employee’s opportunity

to review the arbitration agreement in Potts went well

beyond what Dudley alleges here.                   The employee in Potts

could    not   leave     the    room       where   she   was   handed     the

agreement without signing it; Dudley alleges just that

she was “told that to keep my job, I needed to sign the

paperwork” and was “not informed that I could contact an

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attorney to discuss the arbitration agreement.”                       Decl.

of Mellie Dudley (doc. no. 15-1) at ¶¶ 6, 11. The Supreme

Court     of    Alabama    has    elsewhere     held    that    making      an

employee choose between signing a new contract or being

terminated is not economic duress either.                     See Clark v.

Liberty Nat’l Life Ins. Co., 592 So. 2d 564, 567 (Ala.

1992).1

       Dudley also argues that the arbitration agreement is

substantively         unconscionable         because     the     agreement

requires the employee to “bear the expense of his/her own

legal counsel, if necessary.”                   Arbitration Agreement

(doc. no. 15-2) at 2; see Response to Motion to Dismiss

(doc. no. 15) at 10-11.              She maintains that this makes

the agreement unconscionable because of the possibility

that the parties would ultimately each have to bear their

own     attorneys’      fees,    notwithstanding        the    agreement’s



    1. To the extent Dudley maintains that the agreement
was also invalid because it involved no “additional
consideration other than her continued employment,”
Complaint (doc. no. 1) at ¶ 19, the Alabama Supreme
Court’s decisions in Potts and Clark foreclose this
argument as well.
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provision     granting      the     arbitrator     power      to   award

attorneys’ fees.      See Response to Motion to Dismiss (doc.

no. 15) at 11.

    A showing of substantive unconscionability requires

that the terms of the contract be “grossly favorable” to

one party over the other.           SCI Ala. Funeral Servs., 260

So. 3d at 39.      The mere possibility that each side might

have to bear its own attorneys’ fees does not make the

agreement grossly favorable to American Family Care.

Indeed, the Eleventh Circuit has expressly and repeatedly

rejected the argument that an arbitration agreement is

made unenforceable simply because it provides a different

scheme for attorneys’ fees than would be available if the

plaintiff’s lawsuit proceeded in court.                See Summers v.

Dillard’s, Inc., 351 F.3d 1100, 1101 (11th Cir. 2003)

(enforcing    arbitration      of    claims    under    the   ADEA       and

Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§ 2000e-2, when agreement allowed fee recovery “only if

the plaintiff completely won at arbitration”); Musnick,

325 F.3d at 1259 (holding that the plaintiff could be

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compelled to arbitrate his Title VII claim in spite of

the arbitration agreement’s “loser pays” provision).

       Finally,      the       court      turns         to     Dudley’s

effective-vindication defense.            As discussed above, this

defense    requires     a     party    seeking    to    invalidate        an

arbitration agreement to show “(1) ‘the amount of the

fees he is likely to incur;’ and (2) ‘his inability to

pay those fees.’”           Escobar, 805 F.3d at 1291 (quoting

Musnick, 325 F.3d at 1259).

       Dudley bases her effective-vindication defense on a

provision of the arbitration agreement that “[American

Family Care] and Employee shall share equally all of the

administrative      costs     associated     with      the   filing      and

prosecution of the Arbitration.”             Arbitration Agreement

(doc. no. 15-2) at 2; Response to Motion to Dismiss (doc.

no. 15) at 11-12.       She argues that she will be precluded

from    vindicating     her    rights    because       she   “will    have

trouble    paying”    these     fees,    which    she    alleges      will

“include travel for the arbitrator, meals, travel for



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Mellie Dudley and her attorneys, and the arbitrator’s

fee.”   Response to Motion to Dismiss (doc. no. 15) at 12.

    The    Eleventh     Circuit     has    held    that    “[t]he      mere

existence of a cost-splitting clause in an arbitration

agreement does not satisfy a plaintiff’s burden” to show

the fees he or she is likely to incur, the first step of

the effective-vindication inquiry.             Escobar, 805 F.3d at

1291.      Dudley      presents     little        other    evidence       to

demonstrate specifically what costs she would incur if

she sought to arbitrate her case.                 Her bare claim that

arbitration could cost up to $ 2,000 per day “[b]ased on

research,” Response to Motion to Dismiss (doc. no. 15)

at 12, is far from sufficient to meet her burden.

    Moreover,      a   careful    review     of    the    terms   of     the

arbitration agreement and the underlying fee schedule

shows Dudley’s fear that she will accrue half of all

arbitration expenses to be misplaced.                 The arbitration

agreement does not provide that all expenses associated

with arbitration will be borne equally by the parties.

It provides specifically that the parties will share

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equally    the    “administrative             costs”    involved       in    the

arbitration.         The         fee    schedule        of    the     American

Arbitration Association (AAA), with whom the arbitration

will take place under the parties’ agreement, exempts

arbitrator compensation from the administrative costs

involved in an arbitration.                  See AAA Fee Schedule (doc.

no. 15-4) at 3 (“Arbitrator compensation is not included

as part of the administrative fees charged by the AAA.”).

Arbitrator       expenses        such    as    travel        and    meals    are

similarly separated from administrative fees and are

borne by the employer under the AAA’s rules.                        Id.

    The    AAA’s     fee    schedule          also     provides      that    the

component of the filing fee borne by the individual--a

significant part of the AAA’s “administrative fees”--is

capped    at   $ 300,      and    the    schedule       appears      to     allow

contrary clauses in an arbitration agreement only to

lower that cap, not to raise it.                     See AAA Fee Schedule

(doc. no. 15-4) at 2.            Finally, the AAA’s rules allow the

arbitrator to reduce the fees imposed on a party in the

event of “extreme hardship.”                 AAA Employment Arbitration

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Rules and Mediation Procedures Rule 43; see also Anders

v. Hometown Mortg. Servs., Inc., 346 F.3d 1024, 1028-29

(11th    Cir.   2003)     (denying       an   effective-vindication

defense in part because of an AAA rule allowing reduction

of fees in cases of extreme hardship).                   All told, it

appears the actual fees that Dudley will have to pay

under the parties’ agreement fall considerably below what

she argues they would be, and they may be reduced further

by the arbitrator if the fees would nonetheless be a

hardship to her.

    As to the evidence of Dudley’s capacity to pay these

fees, the Eleventh Circuit, in Suazo v. NCL (Bahamas),

Ltd., 822 F.3d 543 (11th Cir. 2016), has rejected an

effective-vindication defense to an arbitration clause

with a     cost-splitting provision--even after it found

that the plaintiff would have to pay $ 2,000 to begin

arbitration--because the plaintiff’s affidavit that he

had trouble finding work and “[did] not have money to pay

for an arbitrator” was inadequate to show his inability

to pay.      Id. at 554-55.             The costs that the Suazo

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plaintiff was due to accrue considerably outstripped what

it appears Dudley will have to pay as the court interprets

the arbitration agreement here.              And Dudley’s evidence

of inability to pay is less substantial than what the

Suazo plaintiff offered.            She provides just a single

paragraph of evidence on this issue in her declaration,

in which she states that her current income is “about 1/3

less than what I was making at [American Family Care],”

and that she “had difficulty obtaining the funds to cover

the $400 filing [fee] for the USDC.”                 Decl. of Mellie

Dudley (doc. no. 15-1) at ¶ 13.2             This is not enough to

meet her burden of showing that it would foreclose her

claim to have to split with American Family Care just the

administrative fees associated with arbitration.                   Based

on the court’s understanding of the agreement’s cost-

splitting provision, it cannot find that arbitration will



    2.    The court reminds Dudley’s counsel that the
Alabama Rules of Professional Conduct allow attorneys to
advance their clients’ filing fees in cases of contingent
representation like this one, and that the repayment of
such fees “may be contingent on the outcome of the
matter.” Ala. Rules of Pro. Conduct r. 1.8(e)(1).
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impose on Dudley such unmanageable costs that enforcing

the agreement would preclude her from vindicating her

rights under the Age Discrimination in Employment Act.

As    such,    her   effective-vindication          defense     does       not

succeed.

                                   * * *

      Accordingly, it is ORDERED that:

      (1) Defendant        American       Family   Care’s     motion        to

dismiss and compel arbitration (doc. no. 5) is granted

in part and denied in part. The motion is granted insofar

as it seeks to compel arbitration, and it is denied

insofar as it seeks dismissal of this suit.

      (2) This action is stayed pending the resolution of

arbitration under the terms of the agreement signed by

the parties in this case.

      (3) On or before the second Monday in January and

July of each year, counsel for the parties are to file a

report as to the status of the arbitration proceedings.




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    (4) The clerk of the court is to close this case

administratively.

    DONE, this the 4th day of November, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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